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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                 :
KJM SECURITIES, INC.,                                            :
                                             Plaintiff,          :   20 Civ. 9845 (LGS)
                                                                 :
                           -against-                             :         ORDER
                                                                 :
AEGEA CAPITAL MANAGEMENT LLC,                                    :
                                                                 :
                                             Defendant.          :
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LORNA G. SCHOFIELD, District Judge:

        WHEREAS, on January 20, 2021, Defendant filed a pre-motion letter in anticipation of a

motion to dismiss and a motion to stay (Dkt. No. 14), and on January 22, 2021, Plaintiff filed a

responsive letter (Dkt. No. 15).

        WHEREAS, an initial pre-trial and pre-motion conference was held on January 28, 2021. For

the reasons stated at the conference, it is hereby

        ORDERED that, by February 4, 2021, Plaintiff shall file any amended complaint. It is further

        ORDERED that, as soon as possible, Plaintiff shall issue a subpoena to obtain, by February

11, 2021, relevant documents collected in Eagle’s View Capital Management LLC, et al., v. Aegea

Capital Management LLC, et al., Case No. 652875/2020 (N.Y. Sup. Ct.). It is further

        ORDERED that, the parties shall (1) retain a private mediator by February 11, 2021; (2)

conduct their first mediation session by March 5, 2021; and (3) jointly file a letter apprising the Court

as to the status of mediation and whether Defendant intends to file any motion to dismiss by March 8,

2021. It is further

        ORDERED that, discovery as to Plaintiff’s second claim, breach of the implied covenant of

good faith and fair dealing, is STAYED pending the results of mediation and any related motion to

dismiss. A Civil Case Management Plan and Scheduling Order will issue separately.

Dated: January 28, 2021
       New York, New York
